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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


UNITED STATES OF AMERICA                    §
                                            §
v.                                          §              No. 4:19-CR-196-O
                                            §
MICHAEL WEBB                                §


                                            ORDER

       Pending before the Court are Defendant’s Motion to Dismiss (ECF No. 42) and the

Government’s Response (ECF No. 45). Both parties agree that the issues raised by Defendant in his

Motion to Dismiss are foreclosed. Accordingly, Defendant’s Motion to Dismiss is DENIED.

       Signed this 6th day of September, 2019.



                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE
